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Ao 93 (Rev_ 1 mcmann and §§gur&i>t`i?r££@

 

 

M__ i--u,-'.] l\.-,_i‘\t_'J
gm 17 2313 UNITED STATES DISTRICT CoURT
{' ___ _ navy for the _\
1 . ~ \`- "LY Western District of Washington `
L‘r i_.__ _i
In the Matter of the Searci'i of )
(Brr`ejiy describe the property to be searched )
or ide)t!ij§) the person by name and nddress) ) Ca$e NO_ m 3 l g ' L+ 7 0
US l\/lai[ Parcel, bearing confirmation number )
se 401 242 485 us )
)
SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the W€St€rn District of WashingtOn
[r'demr‘jj) the person or describe the property 10 be searched and give its location):

 

See Attachment A, which is incorporated herein by reference

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described abOVe, and ih&f SLlCh SeaTCh Will reveal (r`a'emij§/ the person or describe the property to be Seized)!

See Attachment B, which is incorporated herein by reference

 

YOU ARE COMMANDED to execute this warrant on or before £( mac m exceed 14 days)
d in the daytime 6:00 a_m_ to 10:00 p_m. ij at any time in the day or night because g od cause has been established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to any U.S. Magistrate Judge in Western District of Washington .
(Um'!ed S!ares Magistrate Judge)

|:l Pursuant to 18 U.S.C. § 3103a(b), 1 find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

111 for days mar to exceed 30) |:l untii, the facts justifying the later Specific date of

 

   

Date and time issued: @OC' \,z _"29 t g
tit ’%D¢ltr\

City and state; Seatfl€, WaShngtOn Mary Alice Theiler, United States Magistrate Judge
Primed name and title

 

Jtzdge ’s signature

 

 

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AO 93 (Rcv. l 11'13) Searcit and Seizure Warranl (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

2%0%11‘7 raw wire/par @ 1011.\'> nn usa

 

 

 

Inventory made in the presence of:
fB)-i¢ii j:}$p€¢;i'(,i/ [~i£-i§om R`\V€r't”\

 

Inventory of the property taken and name of any person(s) seized:

i'~7,0t)o_0@ flatly tel-31 here/1671

(D wier sarah praqu L,L.Clrg' aunt ]Q;r wm pertinent
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\\4

 

Certification

 

 

1 declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: 0 11 'Z/Ofp N`y`/ @111+’ § M/AL-')

Exectrt/ /g oj‘icgr 'svzt'gnnture

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P)‘fn!ed anmz and title

 

 

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ATTACI-IMENT A
Parcel to be searched
One Express Mail parcel addressed to “Cristian Mercado, 23911 60‘h Ave W,

Mountlake Terrace WA 98043,” with a return address of “Darius Amos, 200 Hallmark Dr.
Apt 214, Columbia, 'IN 38401.” The SUBJECT PARCEL measures approximately 12.5”
x 9.5” x 2.0” With a Weight of approximately 1 pound, 9.5 ounces. The SUBIECT
PARCEL is postmarked October 9, 2018, from Columbia, TN 38401, and carries $24.70 in
postage The tracking number assigned to the SUBJECT PARCEL is EE 401 242 485 US.

ATTACHMENT - A UNITED sTATEs ATroRNEY
700 STEWART S'nuzr='r, SUrrE 5220
USAO# 2018R0] 198 S!~:m'rLE, WASHlNGToN 9810|
(206) 553-7970

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ATTACHMENT B
Items to be seized

'Ihe following items that constitute evidence, instrumentalities, or fruits of

violations of Title 21, United States Code, Section(s) 841(a)(1) and 843(b):

El.

ATTACHMENT - B
USAO# 2018R01198

Controlled substances, including, but not limited to, cocaine, crack
cocaine, heroin, hashish, marijuana, methamphetamine, MDMA,
methadone, oxycodone, and Oxycontin;

Monetary instruments, including but not limited to, currency, money
orders, bank checks, or gift cards;

Controlled substance-related paraphernalia;

Documentary evidence relating to the purchase, sale, and/or
distribution of controlled substances;

Notes, letters and other items which communicate information
identifying the sender and/or recipient or pertaining to the contents
of the mailing; and

Fingerprints and/or handwriting, to identify Who handled and/or
mailed the packages

UNITED STATES A'I'I”ORNEY
700 STEWART STREEr, Sumz 5220
SEA'!TLE, WASH|NGToN 98101
(206) 553-7970

